      Case 4:23-cv-00076-WTM-CLR Document 10 Filed 04/07/23 Page 1 of 1

                     United States District Court
                                Southern District of Georgia


     Savannah Kolstedt                                       4:23cv76-WTM-CLR
     ________________________                    Case No. ________________________
               Plaintiff

v.                                               Appearing on behalf of
     TMX Finance Corporate
     Services, Inc.
     ________________________                         Plaintiff
                                                      _________________________________
             Defendant                                          (Plaintiff/Defendant)


                                  ORDER OF ADMISSION
         It appearing to the Court that the requirements stated in LR 83.4 for admission
         pro hac vice have been satisfied, Petitioner’s request to appear pro hac vice in
         the United States District Court for the Southern District of Georgia in the
         subject case is GRANTED.

         This WK day of $SULO, .



                                                   _____________________________
                                                      ________
                                                             _____________
                                                                         _____
                                                      UNITED
                                                       NITED
                                                          E STATES
                                                             STA
                                                               ATE
                                                                TES MAGISTRATE
                                                                             E JUDGE
                                                                               JUDG
                                             *****
                                     John A. Yanchunis
      NAME OF PETITIONER:            ______________________________________________________

                                     Morgan and Morgan
            Business Address:        ______________________________________________________
                                                        Firm/Business Name
                                     201 N. Franklin St., 7th Floor
                                     ______________________________________________________
                                                                Street Address
                                                              Tampa         FL    33602
                                     _____________________ ______________________ ________
                                       Street Address (con’t)    City      State     Zip

                                     ______________________________________________________
                                              Mailing Address (if other than street address)

                                     _____________________ ______________________ ________
                                         Address Line 2       City       State       Zip

                                     813-233-5505
                                     __________________________________ ___________________
                                      Telephone Number (w/ area code)    Georgia Bar Number

               Email Address:         jyanchunis@forthe people.com
                                     ______________________________________________________
